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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
       Plaintiff,                               )
                                                )
v.                                              )   No. 4:10CR474 HEA
                                                )
JEARVON JACKSON,                                )
                                                )
       Defendant.                               )

                                          ORDER

       IT IS HEREBY ORDERED that a change of plea hearing is set in this matter for

Tuesday, November 23, 2010, at 11:30 a.m. in the courtroom of the undersigned.

       Dated this 10th day of November, 2010.




                                           ________________________________
                                              HENRY EDWARD AUTREY
                                            UNITED STATES DISTRICT JUDGE
